Case 1:13-cr-00695-BMC Document 214 Filed 10/22/18 Page 1 of 5 PageID #: 2183


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK



Leventhal

                          Case No.
                         18-cv-3470(BMC)
                         (13-cr-695(BMC))
United States




        MOTION FOR RULE TO SHOW CAUSE (INDIRECT CIVIL CONTEMPT)
                       Under Fed R Civ P Rule 11



      NOW COMES PETITIONER/DEFENDANT Howard Leventhal, a non-attorney pro se,

hereby respectfully submitting this motion under Fed R Civ P Rule 11, for

sanctions against Patrick Rein and Richard Donohue, publicly paid employees

in the office of United States Attorney for the Eastern District of New York.

In support of this motion, Leventhal states as follows:

1)    On Sept 17, 2018 two individuals claiming to be attorneys licensed by the

State of New York, submitted filings in this matter, Docs 207 and 207-1. Said

attorneys, Patrick T. Rein and Richard P. Donoghue, submitted said filings

under their signatures or electronic facsimile signatures, as required under

Fed R Civ P Rule 11.


2)    Rule 11 also mandates that filings made by attorneys or parties shall not

be frivolous, nor submitted for improper purposes such as to oppress the

opposing party, harass or dilate the proceedings. Moreover Rule 11 requires that

such submissions shall be relevant to the proceedings, grounded in law and

particularly applicable here - made only after conducting a good faith

investigation into the subject matter factual allegations. Rein and Donoghue*s

said filings do not comply with these requirements.

3)    The above-named filers applied to this court to expand the time allowed

for their response to the 2255 petition pending in this matter, stating that

due to the 80+ pages of factual allegations in said 2255 petition, an extra

ordinarily lengthy amount of time would be required to properly formulate a

                                                                         Page 1 of 3_
 Case 1:13-cr-00695-BMC Document 214 Filed 10/22/18 Page 2 of 5 PageID #: 2184


 meaningful and relevant response, preceded by. presumably, a good faith
 investigation (paraphrasing). Given all of the extra time granted, the court
 should reasonably expect and demand that the filers would perhaps file a
 single affidavit or declaration from at least one employee of the Department
 of Justice contradicting the 2255 petition's factual allegations. Particularly
                   Petitioner's claims of fraud on the court relating to the
 numerous promises and assurances made to this court regarding medical care,
 a topic of no less than 2/3 of the three calendar years it took before this
 court to establish applicable predicates to sentencing - and given that the
 DOJ employs approximately 300 (ostensibly) licensed and qualified medical
 doctors in its Bureau of Prisons - and that each and every one of said doctors,
from sea to shining sea, has instantaneous access to Howard Leventhal's official
BOP Medical Records - if Leventhal's claims in the 2255 petition were false,
no more than 2 hours spent by any of the above described otherwise unemployable
doctors would have settled the issue entirely and destroyed the validity of
Leventhal's current claims. Obviously then, the absence of any kind of sworn
evidence filed in the Government's answer to the 2255 petition, proves the
petition's allegations.

4)    Obviously further, the entire or nearly the entire 133 pages of the
Government's answer in this matter. Docs 207 and 207-1, are nothing more or
less than a smokescreen to obscure this court's view that all of the spoken and
written promises made to the Court (in the record and in oral statements made
repeatedly by the assigned line prosecutor), were deliberate frauds on the
court, invalidating the court's sentence by any measure or standard. An egregious
manifest injustice emerges from the above, unbefitting any sworn officer of
the United States Department of "Justice."

5)    As Rule 11 requires, the undersigned provided a "Safe Harbor" letter to
the above identified filers on Sept 28. 2018 via U.S. postal mail, prepaid and
deposited with prison authorities for further deposit in postal mail.

                                                                        Page 2 of 3
Case 1:13-cr-00695-BMC Document 214 Filed 10/22/18 Page 3 of 5 PageID #: 2185


A copy of said Safe Harbor letter is -attached- he-rato-. So far as Leventhal is

able to determine, the filers have not as yet withdrawn their frivolous,

unpermitted and abusive filings as of the date hereof.


      NOW THEREFORE, Petitioner hereby prays this Court for an order to
                                                                    e\}M           Orh'ct
show cause why Patrick T. Hein and Richard P. Donoghue, should not be found and
                                                        A


held in indirect contempt of this Court, or any other relief as this Honorable

Court deems fit.



                                                 Respectfully submitted,
                                                 PETITIONER/DEFENDANT PRO SE




                                                 Howard Leventhal               Date
                                                 Reg No. 46376-424
                                                 FPC Duluth
                                                 P.O. Box 1000
                                                 Duluth, MN 55814




                                                                           Page 3 of 3
Case 1:13-cr-00695-BMC Document 214 Filed 10/22/18 Page 4 of 5 PageID #: 2186
                                  FLEL
                               IN CLERICS OFFl
                                          OFFiGF.
                           US DiSTCICT
                                 "CICi COURT r!>.N.Y   Howard Leventhal
                                                       Reg No 46376-424
                                GCT^^                  FPC Duluth
                                                       P.O. Box 1000
                                                       Duluth, MN 55814
Oct 22, 2018               BROOKLYN OFF.'CE

Clerk of Court                                         RE LEVENTHAL v U.S.
United States District Court                           18-cv-3470(BMC)
Eastern District of New York                           (13-cr-695(BMC))
225 Cadman Plaza East
Brooklyn, NY 11201
                                                       Us. DISTR-CtF       "
                                                                               E.D.N.V

Please file enclosed in captioned matter                    OCT 2 2 2018              ^

Thank you.
                                                        Sroo:;eyn opFiCE
PEyrijriONER/DEF JPRO SE

                                                                               CD

                                                                               cx>

                                                                               o
                                                                               o
                                                                               " <
Howard Leventhal                                                    n'^'
                                                                               ro
                                                                                      Si"
                                                                               ro

                                                                               -o
                                                                               3

                                                                                X-
                                                                                 ••


                                                                     o          PO
Inmate Name^    Case 1:13-cr-00695-BMC Document 214 Filed 10/22/18 Page 5 of 5 PageID.*1^'
                                                                                       #: 2187
Registration # \loZnG '\zf                                                                           •   ....^

Federal Prison Camp                                                nrr'          "i.'i
P.O. Box 1000
Duluth, Minnesota 55814



                                                            \

                                046376-4240
                                       Court Clerk Brooklyn
                                       225 Cadman PLZ E
                                       -USDIst Court-EONY-
                                       Brooklyn, NY 11201
                                       United States




                                                                                                                 i

                                       1120i — i B3299                                   'lll"li|lilliil"l'p
